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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

IN THE MATTER OF THE SEIZURE      )
OF $35,010.15 IN FUNDS FROM BANK  )
ACCOUNT ENDING IN 7921 HELD IN    )                   M.B.D. No. 24-MC-91607
THE NAME OF RAJU SHARMA AND       )
SEEMA SHARMA AT BANK OF           )
AMERICA, SEIZED ON JUNE 12, 2024  )
                                  )
IN THE MATTER OF THE SEIZURE OF )
OF $215,468.44 IN FUNDS FROM BANK )
ACCOUNT ENDING IN 0876 HELD IN )
THE NAME OF RAJU SHARMA AND       )
SEEMA SHARMA AT BANK OF           )
AMERICA, SEIZED ON JUNE 12, 2024 )
                                  )
IN THE MATTER OF THE SEIZURE OF )
OF $973.88 IN FUNDS FROM BANK     )
ACCOUNT ENDING IN 7297 HELD IN )
THE NAME OF RR MEDCO LLC          )
AT IN THE BANK OF AMERICA,        )
SEIZED ON JUNE 12, 2024           )
                                  )
IN THE MATTER OF THE SEIZURE OF )
OF $60,094.56 IN FUNDS FROM BANK )
ACCOUNT ENDING IN 1381 HELD IN )
THE NAME OF FOX VALLEY            )
MEDICAL SUPPLY LLC AT JP          )
MORGAN CHASE BANK,                )
SEIZED ON JUNE 12, 2024           )

               ASSENTED-TO ORDER EXTENDING THE TIME TO FILE
                    CIVIL FORFEITURE COMPLAINT AND/OR
                  OBTAIN INDICTMENT ALLEGING FORFEITURE

       WHEREAS, Raju Sharma, Seema Sharma, RR Medco LLC, and Kartik Bhatia on behalf

of Fox Valley Medical Supply LLC (the “Claimants” and together with the United States, the

“Parties’) have filed a claim to one or more of the following properties in a nonjudicial civil

forfeiture proceeding with the Federal Bureau of Investigation (“FBI”):


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        a. $35,010.15 in funds from bank account ending 7921 held in the name of Raju Sharma
           and Seema Sharma at Bank of America on June 12, 2024;

        b. $215,468.44 in funds from bank account ending in 0876 held in the name of Raju
           Sharma and Seema Sharma at Bank of America, on June 12, 2024;

        c. $973.88 in funds from bank account ending in 7297 held in the name of RR Medco
           LLC at Bank of America, on June 12, 2024; and

        d. $60,094.56 in funds from bank account ending in 1381 held in the name of Fox Valley
           Medical Supply LLC at JP Morgan Chase Bank, on June 12, 2024

(together, the “Property”).

        WHEREAS, the United States, with the assent of the Claimants, respectfully requests,

upon agreement of the Parties as provided in 18 U.S.C. § 983(a)(3)(A), to extend the time in

which the United States is required to file a complaint for forfeiture against the Property and/or

to obtain an indictment alleging that the Property is subject to forfeiture;

       WHEREAS, the United States represents to the Court that FBI sent notice of its intent to

forfeit the Property as required by 18 U.S.C. § 983(a)(1)(A), that no other person has filed a

claim to the Property as required by law in the nonjudicial civil forfeiture proceedings, and that

the time within which to file such claims has expired; and

       WHEREAS, the Court is authorized by 18 U.S.C. § 983(a)(3)(A), based upon agreement

of the parties or good cause shown, to extend the time in which the United States is required to

file a complaint for forfeiture against the Property and/or to obtain an indictment alleging that the

Property is subject to forfeiture.

        ACCORDINGLY, it is hereby ORDERED, ADJUDGED, and DECREED:

        Pursuant to 18 U.S.C. § 983(a)(3)(A)-(C), that the date by which the United States is

required to file a complaint for forfeiture against the Property and/or to obtain an indictment



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alleging that the Property is subject to forfeiture is extended to February 2, 2025.




                                                      United States District Judge
Date: ____________________




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